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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF OKLAHOMA

  MICHAEL NSIEN and UZOAMAKA NSIEN,                 )
                                                    )
                          Plaintiffs,               )
  v.                                                )         Case No. 16-CV-530-JED-JFJ
                                                    )
  COUNTRY MUTUAL INSURANCE                          )
  COMPANY d/b/a COUNTRY FINANCIAL,                  )
  a foreign corporation,                            )
                                                    )
                          Defendant.                )

                                              ORDER

         On March 21, 2019, after this litigation was settled, Richardson Richardson Boudreaux

  (“RRB”) entered a special appearance for the purpose of filing a Motion to Determine Lien (Doc.

  102). The Motion to Determine Lien involves a dispute over whether a check in the amount of

  $1,723.31 made payable to both RRB and Plaintiffs, which is a portion of a settlement reached

  between Plaintiffs and Defendant Country Mutual Insurance (“Defendant”), should be distributed

  to Plaintiffs or RRB.

         Magistrate Judge Jodi F. Jayne held a hearing on the Motion to Determine Lien on April

  17, 2019. On May 6, 2019, Judge Jayne entered a Report and Recommendation (“R&R”) (Doc.

  121) in which she found that RRB is legally entitled to $1,703.31 of the settlement proceeds paid

  by Defendant to Plaintiffs.

         Pursuant to Fed. R. Civ. P. 72(b)(3), “[t]he district judge must determine de novo any part

  of the magistrate judge’s disposition that has been properly objected to. The district judge may

  accept, reject, or modify the recommended disposition; receive further evidence; or return the

  matter to the magistrate judge with instructions.” The time for filing objections to Judge Jayne’s
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  R&R has expired, and no objections were filed. Upon an independent review of the record and the

  issues presented, the Court agrees with Judge Jayne’s findings and conclusions in the R&R.

          IT IS THEREFORE ORDERED that the R&R (Doc. 121) is accepted, and RRB’s Motion

  to Determine Lien (Doc. 102) is granted in the amount of $1,703.31. Plaintiffs and RRB shall

  endorse the $1,723.31 check with $1,703.31 to be distributed to RRB and $20.00 to be distributed

  to Plaintiffs.

          SO ORDERED this 21st day of May, 2019.




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